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    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                       No. 13-850V
                                   Filed: March 6, 2015

*************************                                    UNPUBLISHED
JEFFREY FAUCHER and FILOMENA       *
FAUCHER, parents of C.F., a minor, *
                                   *                         Special Master Hamilton-Fieldman
                   Petitioners,    *
                                   *
v.                                 *                         Petitioners’ Motion for Dismissal
                                   *                         Decision; Neurological Injury;
SECRETARY OF HEALTH                *                         Diptheria-Tetanus-Pertussis-acellular
AND HUMAN SERVICES,                *                         Pertussis (“DTaP”) Vaccine;
                                   *                         Inactivated Polio (“IPV”) Vaccine;
                   Respondent.     *                         haemophilus influenza (“Hib”)
                                   *                         Vaccine; Pneumococcal Conjugate
*************************                                    Vaccine (“PCV”); Rotavirus
                                                             Vaccine; Influenza (“flu”) Vaccine;
                                                             Hepatitis B (“Hep B”) Vaccine.

Ronald Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for Petitioner.
Glenn MacLeod, United States Department of Justice, Washington, DC, for Respondent.

                                          DECISION 1

        On October 29, 2013, Jeffrey and Filomena Faucher (“Petitioners”) filed a petition on
behalf of their child, C.F., for compensation under the National Childhood Vaccine Injury Act
of 1986, 42 U.S.C. §§ 300aa-1 et seq. (2006) (“Vaccine Act”). Petitioners alleged that C.F.
suffered from a neurological injury, and that this injury was caused by Diptheria-Tetanus-
acellular-Pertussis (“DTaP”), Inactivated Polio (“IPV”), haemophilus influenza (“Hib”), hepatitis
B (“hep B”), Pneumococcal Conjugate (“PCV”), Rotavirus, and influenza (“flu”) vaccines
administered to her on November 11, 2010. Petition (“Pet”) at 1. The undersigned now finds
that the information in the record does not show entitlement to an award under the Program.
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 Because this unpublished decision contains a reasoned explanation for the action in this case,
the undersigned intends to post this decision on the United States Court of Federal Claims’
website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 and note (2006)). In accordance with
Vaccine Rule 18(b), a party has 14 days to identify and move to delete medical or other
information, that satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review,
the undersigned agrees that the identified material fits within the requirements of that provision,
such material will be deleted from public access.
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        On March 3, 2015, Petitioners filed a Motion for a Decision Dismissing the Petition.
According to their motion, Petitioners “have been unable to secure further evidence required by
the court to prove entitlement to compensation in the Vaccine Program.” Motion at 1.
Petitioners further state that they have been advised by counsel that a dismissal decision will
result in a judgment against them, and that such a judgment will end all of their rights in the
Vaccine Program. Id.

        To receive compensation under the Vaccine Act, Petitioners must prove either 1) that
C.F. suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table –
corresponding to one of her vaccinations, or 2) that C.F. suffered an injury that was actually
caused by a vaccine. See §§ 300aa-13(a)(1)(A) and 300aa-11(c)(1). An examination of the
record did not uncover any evidence that C.F. suffered a “Table Injury.” Further, the record does
not contain a medical expert’s opinion or any other persuasive evidence indicating that C.F.’s
injuries were caused by a vaccination.

        Under the Vaccine Act, a petitioner may not be awarded compensation based solely on
the petitioner’s claims alone. Rather, the petition must be supported by either medical records or
by the opinion of a competent physician. § 300aa-13(a)(1). In this case, because the medical
records are insufficient to establish entitlement to compensation, a medical opinion must be
offered in support. Petitioners, however, have offered no such opinion.

       Therefore, the only alternative remains to DENY this petition. Thus, this case is
dismissed for insufficient proof. In the absence of a motion for review, the Clerk shall
enter judgment accordingly.

       IT IS SO ORDERED.

                                                     /s/Lisa D. Hamilton-Fieldman
                                                     Lisa D. Hamilton-Fieldman
                                                     Special Master




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